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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                          )
                                                   )     21-CR-411 (APM)
v.                                                 )
                                                   )     Judge: Mehta
STEWART PARKS,                                     )
                                                   ) Sentencing Date: 11/15/23
             Defendant.                            )


                  DEFENDANT STEWART PARKS’S
                MEMORANDUM IN AID OF SENTENCING

       COMES NOW Stewart Parks, through counsel, and submits the following

memorandum in aid of sentencing.

                                   Background

       On June 21, 2021, Stewart Parks was charged with five counts via

information: (1) Entering and Remaining in a Restricted Building, in violation of

U.S.C. § 1752(a)(1); (2) Disorderly and Disruptive Conduct in a Restricted

Building, in violation of 18 U.S.C. § 1752(a)(2); (3) Disorderly Conduct in a

Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(D); (4) Parading,

Demonstrating, or Picketing in a Capitol Building, in violation of 40 U.S.C. §

5104(e)(2)(G); and (5) Theft of Government Property, in violation of 18 U.S.C. §

641.
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      Since June 9, 2021, Mr. Parks has been on his personal recognizance with

release conditions during the entire time that this matter has been pending. He has

attended all court appearances, both in person and via online hearings. He has been

and continues to be fully compliant with his release conditions.

      On May 1, 2023, Mr. Stewart Parks had a bench trial in this matter on all

five counts before this Honorable Court. The trial was in person and lasted three

(3) days, with two (2) days of testimony and argument and a verdict issued on the

third day. After the conclusion of the evidence on May 3, 2023, the court found the

defendant guilty of all five counts, and a sentencing date was scheduled for August

25, 2023. The sentencing date was continued and is currently scheduled for

sentencing on November 15, 2023. In anticipation of sentencing, the preparation of

a Presentence Investigation Report (PSR) was ordered, and the final PSR was

prepared on September 27, 2023.

      Stewart Parks also had a codefendant in this matter, Matthew Baggott. On

April 5, 2022, Matthew Baggott pled guilty to Count Two of the Information, to

one count of Disorderly and Disruptive Conduct in a Restricted Building or

Grounds, in violation of 18 USC § 1752(a)(2). On August 5, 2022, this court

sentenced Mr. Baggott to three months incarceration and 12 months supervised

release.
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                                    Argument


       A. Statutory Penalties

      The penalty for Count 1, Entering and Remaining in a Restricted Building,

in violation of 18 USC § 1752(a)(1), is 1 year imprisonment and/or a $100,000

fine. The penalty for Count 2, Disorderly and Disruptive Conduct in a Restricted

Building, in violation of 18 USC § 1752(a)(2), 1 year imprisonment and/or a

$100,000 fine. The penalty for Count 3, Violent Entry and Disorderly Conduct in a

Capitol Building, in violation of 40 USC § 5104(e)(2)(D), is 6 months

imprisonment and/or a $5,000 fine. The penalty for Count 4, Parading,

Demonstrating, or Picketing in a Capitol Building, in violation of 40 USC §

5104(e)(2)(G), is 6 months imprisonment and/or a $5,000 fine. The penalty for

Count 5, Theft of Government Property, in violation of 18 USC § 641, is 1 year

imprisonment and/or a $100,000 fine. Since they are Class B misdemeanors, the

U.S. Sentencing Guidelines do not apply to Counts 3 and 4. See USSG §1B1.9.

       B. Mr. Parks’ Actions on January 6, 2021

      The date of January 6, 2021, will forever be remembered in American

history as a day in which the foundations of our democracy were shaken. There

were many individuals who caused physical damage, assaulted police officers, and

in many other ways disgraced the hallowed halls of the U.S. Capitol. However,

Stewart Parks was not one of those individuals. His crime is based upon his
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entering the U.S. Capitol and walking around public areas within the Capitol with

his codefendant Matthew Baggott for approximately forty-five (45) minutes. At no

time does the evidence provided at trial allege that he was violent, was chanting

political statements, or had damaged any property. He and Mr. Baggott followed

police orders and did not proceed in areas when stopped by police officers, and

later exited when told to do so by police officers.

      On the morning of January 6, 2021, Defendant Stewart Parks and his

codefendant Matthew Baggott traveled from Nashville, Tennessee, to the

Baltimore/Washington Airport (BWI) in Maryland. They rented a car and drove

down to Washington, D.C., to attend the “Stop the Steal” rally in support of then-

President Donald J. Trump. They arrived at downtown Washington, DC, at

approximately 1:30 p.m., which was after President Trump had given his speech at

the Ellipse near the White House. Mr. Parks and Mr. Baggott, along with many

other attendees, then walked down to the U.S. Capitol grounds to the West Plaza

of the U.S. Capitol, where there were officers preventing people from proceeding

onto the U.S. Capitol. During that time period, Mr. Parks saw teargas being

utilized. At this time, Mr. Parks posted on his Instagram account a picture with the

caption, “They’re gassing us.” The police lines were eventually broken by the

attendees, including Mr. Parks and Mr. Baggott, and they proceeded towards the

U.S. Capitol Building.
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      Mr. Parks and Mr. Baggott worked their way through the scaffolding that

was set up on the west side of the U.S. Capitol. At that time, he posted another

Instagram message stating “We’re getting in.” Mr. Baggott and Mr. Parks worked

their way up to the Upper West Terrace. While in the Upper West Terrace, they

eventually arrived at a door of the U.S. Capitol Building on the Senate side. At that

door, there was an accumulation of people who were attempting to enter. At that

time, while, admittedly, there was broken glass and windows, there were no signs

that indicated that there was no entry through those doors. Those doors were

eventually forced open by individuals other than Mr. Baggott and Mr. Parks, and

the two of them entered the U.S. Capitol through that door shortly afterward. When

he entered the U.S. Capitol, Mr. Parks was carrying a Gadsden Flag, a yellow flag

which depicted a snake with the words “Don’t Tread on Me” on it.

      While in the U.S. Capitol, Mr. Parks and Mr. Baggott travelled to various

parts of the building, including the Ohio Clock Corridor, the Will Rogers Hallway,

and the Upper House Door entry area. During their travels around, Mr. Baggott

oftentimes led the way, with Mr. Parks following closely behind and/or Mr. Parks

regularly holding onto Mr. Baggott. Prior to exiting the interior of the building, Mr.

Parks picked up a handheld wand used by security guards and exited the building.

Mr. Parks indicated in his testimony that he left the wand on the ground close to

the doors. Though there was no visual confirmation one way or the other via video
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obtained on that day, the parties stipulated no wand was reported missing or stolen

on January 6, 2021.

       C. Challenges to Sentencing Guideline Calculations

      With regard to the guideline calculations, the defendant takes no issue with

the criminal history category of I. The defendant further does not dispute the base

offense level of 10. However, the defendant objects to the +2 adjustment for

Adjustment for Obstruction of Justice pursuant to USSG §3C1.1. PSR at ¶ 52. He

has been fully compliant with his release conditions and there has been no

suggestion of any impropriety or efforts to impede this case on his part.

      Accordingly, the PSR author, therefore, appears to be basing this

“obstruction of justice” entirely on the fact that Mr. Parks exercised his

constitutional right to a trial and chose to take the stand and testify. However, his

testimony does not rise to the level that would indicate that he gave any falsehoods

or intentionally lied during his trial testimony. He was consistent in his responses

between direct and cross-examination,

      Under the Sentencing Guidelines, a defendant commits perjury and obstructs

justice under U.S.S.G. § 3C1.1 24 if he "gives false testimony concerning a material

matter with the willful intent to provide false testimony, rather than as a result of

mistake or faulty memory." United States v. Dunnigan, 507 U.S. 87, 94

(1993)(cited in United States v. Gaviria, 116 F.3d 1498, 1518 (D.C. Cir. 1997)).
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Furthermore, the district court must find willful perjury by clear and convincing

evidence. United States v. Montague, 40 F.3d 1251, 1254 (D.C.Cir.1994). In this

case, the court should not make such a finding. In making its findings of fact, the

court only indicated it did not credit Mr. Parks’ testimony, exclusively dealing with

issues on state of mind. At no time in its finding, and indeed at no time in the trial,

was there any indication that Mr. Parks said something that was false, where the

court believed some other testimony of another (government) witness that the court

believed was true.1 Thus, the court therefore should not find by clear and

convincing evidence that any alleged falsehood said by Mr. Parks in his testimony

was based upon intentional falsehood or perjury, as opposed to his perception of

his events upon reflection two years after the event itself. Accordingly, the court

should deny the two-point enhancement based upon USSG §3C1.1.

         Should the court determine that the PSR calculation is correct of Criminal

History I and Total Offense level of 14 is correct, Mr. Parks would ask that the

court sentence him to a lesser sentence pursuant to the factors under 18 U.S. §

3553(a), as discussed below. In addition, Mr. Parks would ask for the probationary

and/or jail sentences to run concurrently with each other.




1
 Admittedly, the court, in reaching its verdict, indicated that Mr. Parks’ testimony was “charitably, charitably not
credible, and at worst, was a pure fabrication. Mr. Parks would respectfully suggest that, when considering the delay
of time from the event to the trial itself, it is more likely the former and not the latter.
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       D. Statutory Sentencing Factors under 18 U.S.C. § 3553(a)

           As this court knows, in United States v. Booker, 543 U.S. 220, 264 (2005),

 the Supreme Court indicated that sentencing courts should “consult [the

 Sentencing] Guidelines and take them into account when sentencing.” Booker

 further indicated that the purpose of the guidelines was to “‘provide certainty

 and fairness in meeting the purposes of sentencing, [while] avoiding

 unwarranted sentencing disparities[.]’”Booker, 543 U.S. at 264 (quoting 28

 U.S.C. § 991(b)(1)(B)).

           Given the factors under 18 U.S.C. § 3553(a), this court should consider

 the following: (1) the nature and circumstances of the offense; (2) the

 defendant’s history and characteristics; (3) the need to impose a sentence that

 reflects the seriousness of the offense, promotes respect for the law, provides

 just punishment,affords adequate deterrence, protects the public, and provides

 the defendant with needed educational or vocational training and medical

 care; and (4) the need for the sentence to avoid unwarranted disparities among

 defendants with similar records convicted of similar conduct. See 18 U.S.C. §

 3553(a).

      1.     Nature and Circumstances of the Offenses

      As described above, Mr. Parks’ actions on that day did not involve any

violence, destruction, disrespect to lawful authorities, or even any inflammatory
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political speeches or actions. He followed police directives and requests both on

January 6th, by officers at the Capitol, and left with Mr. Baggott when he was told

to do so. He was not disrespectful and indeed, during his testimony, Mr. Parks

testified of his reverence he had to the U.S. Capitol on that day. Indeed, this is

quite contrary to the actions of other individuals in the U.S. Capitol on January 6th.

At no time is he seen on the videos provided by the government as chanting or

participating in any political rhetoric. He also exited and followed orders by

officials in the U.S. Capitol and spent less than 45 minutes in the building. He

returned back to his home and has not been alleged to have participated in any anti-

government political events since.

      2.     Defendant’s History and Characteristics

      Mr. Stewart Parks is currently 30 years old. He was 29 years old at the time

of the offense. He has no prior criminal charges or convictions, either as an adult or

as a juvenile. He received his General Education Diploma (GED) in 2011. He

attended Volunteer State Community College in Gallatin Tennessee from 2011 to

2013. He then transferred to the University of Mississippi and graduated with a

Bachelor of Arts in Economics in 2016.

      After graduation, he entered the realm of real estate. He has multiple

businesses in this area. He owns Parks International Capital, an investment and
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development company. He also owns four real estate development companies in

Nashville, Tennessee. He also owns a construction brokerage company named

Parks International Management.

         Mr. Parks is businessman who, along with his family, is involved with his

community and church. He works in the real estate business in various aspects and

is the sole proprietor of his own business and works in the area of real estate. He

has political aspirations and actually ran for political office in Tennessee.

         Perhaps the best example of the upstanding and respected citizen is that Mr.

Parks can be shown by the genuine words of his friends, business associates, and

family. In support and in anticipation of his sentencing, Mr. Parks has received an

incredible outpouring of support from many of these individuals.2 The twenty-one

(21) letters provided along with this memorandum all speak to the excellent

character of Mr. Parks. They are included as exhibits attached to this memorandum

and are incorporated herein. They include the following:

         Exhibit A: Letter from Alan Siliski
         Exhibit B: Letter from Allison Walters
         Exhibit C: Letter from Arlene Bragg
         Exhibit D: Letter from Barry Baggott
         Exhibit E: Letter from Carol McCord


2
 In accordance with local rules, the personal information of the letters has been redacted from the copies being filed.
However, a separate, unredacted copy will be sent to the government and to the court directly.
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    Exhibit F: Letter from Cary Allen
    Exhibit G: Letter from Cheryl Schou
    Exhibit H: Letter from Christopher Parks
    Exhibit I: Letter from David Parks
    Exhibit J: Letter from Donna Wilson
    Exhibit K: Letter from Eric Hunter Warden
    Exhibit L: Letter from Garrison Parks
    Exhibit M: Letter from Karley Adams
    Exhibit N: Letter from Logan McKee
    Exhibit O: Letter from Mary Kay Wilson
    Exhibit P: Letter from Mary Taylor
    Exhibit Q: Letter from Nicholas Meyer
    Exhibit R: Letter from Reverend William Parks
    Exhibit S: Letter from Rhonda Sizemore
    Exhibit T: Letter from Richard Warden
    Exhibit U: Letter from Thomas and Lisa Parks (with Attachments A and B)

       All these letters speak in different ways of the respectful, kind behavior

of Mr. Parks, in the town in which he resides in Missouri. The letters include

people who have known Mr. Parks from all walks of life, among them family,

friends, business associates. Many of them speak to his law-abiding nature and

that his actions on January 6th are not a reflection of Mr. Parks’ normal

behavior. Among the adjectives that are used to describe Mr. Parks are “kind,”

“respectful,” “considerate,” “hardworking,” “well disciplined,” “thoughtful,”

“proactive,” “educated,” and “easy going.” Many of the letters talk about his
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commitment to the church and Christian values. Several discuss how he is a

hardworking individual committed to his real estate business. Additionally,

most contrast his personality as not one who would have intentionally taken

actions against the government, but rather as someone who made a bad choice

on that day and as someone who is remorseful for his actions.

      Further, the defense would bring to the court’s attention the letter and

attachments from his parents, Thomas (Steve) Parks and Lisa Parks, which is

attached hereto as Exhibit U with Attachments A and B. The letter and

attachments discuss Mr. Parks’ physical ailments with his eyes and ears. They

describe and provide limitations on his vision and hearing, providing evidence

of hearing issues (Mr. Parks uses a hearing aid), and vision issues, such as

tunnel vision and lack of peripheral vision. Respectfully, these two issues may

be relevant to this case for two reasons. First, this would explain why Mr.

Parks, as seen in the videos and photos, was immediately behind Mr. Baggott as

they were proceeding through the U.S. Capitol, often holding onto him. Second,

while this is not to suggest that these factor rise to the level of suggesting Mr.

Parks is not guilty of the charges, this could provide at least some explanation,

particularly due to his peripheral vision issues, as to why Mr. Parks may not

have picked up onto the many “cues” that things were amiss and as volatile as

others may have observed while within the U.S. Capitol.
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   3. Punishment to .Afford Adequate Deterrence, and Protect the Public

       Mr. Parks understands that this Honorable Court has found him guilty of the

charges. Just as he has respect and reverence for our country, he also has a respect

for the authority of the court. Indeed, he has shown his respect for the court by

being fully compliant with his release conditions. He has attended every court

hearing, both online and in person. In short, Mr. Parks has shown his respect for

the court with his actions. He intends to fully cooperate with the decision of the

court and will comply with whatever conditions are placed upon him. Finally, his

lack of criminal record and no violations of his release condition or other laws

further show Mr. Parks’ respect for the law. Mr. Parks has always been a law-

abiding citizen and had never been cited for anything greater than a traffic offense

prior to this case.

       Mr. Parks would also suggest that, given the sum of his actions, an extended

probationary sentence is a just punishment. Mr. Parks will now have a criminal

record and will presumably remain under the supervision of the court for an

extended period of time. Mr. Parks was nonviolent during his time both outside

and within the U.S. Capitol and did not commit any actions which would suggest

that he was seeking to disrupt the electoral process in any way, other than with his

presence. Admittedly, his presence in the U.S. Capitol, like many hundreds of

others who were within the U.S. Capitol, created a de facto delay in the voting
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process. His involvement on January 6th, however, should therefore be

distinguished from other participants, who were much more violent and/or

destructive. Accordingly, Mr. Parks should be punished for his unlawful entry into

the Capitol, but his actions do not suggest a lawlessness that is a perpetual

problem, or one that calls for incarceration.

      Finally, the need to protect the public from Mr. Parks should, respectfully,

be of little to no concern. Mr. Parks has not provided any suggestion that he is a

danger to the public, either before January 6, 2021, or after. Even his actions inside

the U.S. Capitol do not suggest any fervent political agenda or safety concern to

the public. Mr. Parks has shown that he can abide by the law in both his

cooperation after his arrest, lack of any other criminal record, and full compliance

with release conditions.

       4.    Need to Avoid Unwarranted Sentencing Disparities

      The court undoubtedly wishes to avoid disparities between defendants who

have been convicted of these misdemeanors that have been applied to individuals

who entered the U.S. Capitol and did not cause any damage. In the large majority

of the January 6th defendants who have been sentenced to these misdemeanor

offenses, it appears that most have received a fully probationary sentence, with

about a third of those individuals receiving a limited amount of home confinement.

Accordingly, Mr. Parks would respectfully request that a sentence of probation is
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appropriate in his case. There is nothing in the actions of Mr. Parks that would

necessarily suggest that his actions had any aggravating circumstances to justify a

non-probationary sentence or even home confinement.

      While the government may suggest that Mr. Parks’ choice to go to trial

should be a reason not to be treated similarly to other January 6 th misdemeanants,

the defense would respectfully suggest that that issue has already been considered

as part of his sentence in that Mr. Parks did not and will not be receiving a

reduction for acceptance of responsibility. The defense would respectfully suggest

that his actions on January 6th were the same, if not, even less egregious that

others, where it does not , followed police direction as soon as he was given an

order, and even tried to discourage lawlessness of others. Accordingly, Mr. Parks

should be sentenced similarly to other similarly situated misdemeanants.

Furthermore, Mr. Parks’ actions, when viewed via videos, show that Mr. Baggott

was usually leading the way, with Mr. Parks following closely behind or even

holding onto Mr. Baggott. Accordingly, Mr. Parks’ actions appear to be less than

those of Mr. Baggott, who received three (3) months incarceration. Accordingly, a

probationary sentence, perhaps of an extended period of time, would be sufficient.

      While acknowledging that Mr. Parks had a theft charge as well, the defense

would submit that this should not make any difference as to an appropriate

sentence. While it is clear that a theft technically occurred, as there was asportation
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of the wand, there is no evidence, and indeed evidence to the contrary via

stipulation, that the U.S. Capitol was ever deprived of the item itself and, under the

circumstances, the use of the wand at that time. Accordingly, this charge should

not affect the court’s determination of what would be a just sentence under the

circumstances.

      Given all the aspects of Stewart Parks - his lack of criminal record, his

compliance with his pretrial conditions, his nonviolent behavior within the U.S.

Capitol, his employment – Mr. Parks would respectfully request a fully

probationary sentence with hours of community service if the court feels it is

appropriate. This has been a valuable lesson and is one to never be repeated. Mr.

Parks has shown through his actions that he is respectful of the court’s authority

and that he has a low chance of recidivism. As he has already done, he will comply

with all conditions placed upon him. A probationary sentence would also allow

him to continue to provide for his family and maintain his employment and

assistance in the community. Should the court believe that some level of detention

is necessary, Mr. Parks would respectfully ask that he be allowed to serve it in the

form of home confinement.

      Should the court feel that a short period of incarceration is required (which

we obviously hope is not the case), we would ask for the court to allow it to be

served as close to his residence in Tennessee as possible. Mr. Parks would also
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request for his sentences and/or probation to run concurrently, as they arise from

the same incident. Mr. Parks would further request that he be allowed to report to

serve his sentence and remain on his personal recognizance in the meantime.

       WHEREFORE, for the reasons stated above, Defendant Stewart Parks

respectfully requests a full probationary sentence and community service if the

court deems it appropriate.



                                             Respectfully submitted,

                                              STEWART PARKS
                                              By Counsel

                                              /s/ John L. Machado
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                          Certificate of Service

 I hereby certify that a true copy of the foregoing was electronically filed
  with the Clerk of the Court using the CM/ECF system this 13th day of
November, 2023, which will send a notification of such filing (NEF) to the
                     following to allcounsel of record.

      /s/John L. Machado
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